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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE: AQUEOUS FILM-FORMING FOAMS                          ) Master Docket No.:
 PRODUCTS LIABILITY LITIGATION                              ) 2:18-mn-2873-RMG

                                                            )
 CITY OF CAMDEN, et al.,                                    ) Civil Action No.:
                                                            ) 2:23-cv-03147-RMG
                  Plaintiffs,                               )
                                                            )
 v.                                                         )
                                                            )
 3M COMPANY,                                                )
                                                            )
                  Defendant.                                )


                   CONSENT MOTION TO AMEND EXHIBITS E AND F
             TO PRELIMINARILY APPROVED 3M SETTLEMENT AGREEMENT

        Plaintiffs, City of Camden, City of Brockton, City of Sioux Falls, California Water Service

Company, City of Del Ray Beach, Coraopolis Water & Sewer Authority, Township of Verona,

Dutchess County Water & Wastewater Authority and Dalton Farms Water System, City of South

Shore, City of Freeport, Martinsburg Municipal Authority, Seaman Cottages, Village of

Bridgeport, City of Benwood, Niagara County, City of Pineville, and City of Iuka (collectively,

“Plaintiffs”), by and through Class Counsel, and with the consent of Defendant 3M Company

(“3M”), move to amend Exhibit E and Exhibit F to the Settlement Agreement Between Public

Water Systems and 3M Company (the “3M Settlement Agreement”). The grounds for this motion

are as follows:

        1.        On July 3, 2023, Plaintiffs filed a Motion for Preliminary Approval of Class

Settlement, for Certification of Settlement Class and for Permission to Disseminate Class Notice

(the “Preliminary Approval Motion”) (2:23-cv-03147 ECF No. 10, also filed as 2:18-mn-2873

ECF No. 3370) and the 3M Settlement Agreement (Ex. 2 to same, ECF No. 10-3/ECF No. 3370-3).


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       2.      On August 28, 2023, the Parties submitted a Consent Motion to Amend Exhibits to

Motion for Preliminary Approval (ECF No. 59/ECF No. 3620). Among the agreed revisions were

changes to the lists of Phase One Eligible Claimants (Ex. E to the 3M Settlement Agreement) and

Phase Two Eligible Claimants (Ex. F to same) intended to reflect more current and accurate

information.

       3.      On August 29, 2023, the Court granted preliminary approval of the 3M Settlement

Agreement, as revised. (ECF No. 65/ECF No. 3626.)

       4.      The Parties submit the attached exhibits in order to reflect more accurate lists of

Phase One Eligible Claimants (Ex. E to the 3M Settlement Agreement) and Phase Two Eligible

Claimants (Ex. F to same), attached hereto as Exhibits 1 and 2, respectively.

       Accordingly, the Parties respectfully request that this Court grant this motion and order

that the attached Exhibits E and F supersede the prior versions of those exhibits.


Dated: November 10, 2023                             Respectfully submitted,

                                                     /s/_Richard F. Bulger_________
                                                     Richard F. Bulger
                                                     Daniel L. Ring
                                                     Michael A. Olsen
                                                     MAYER BROWN LLP
                                                     71 South Wacker Drive
                                                     Chicago, IL 60606
                                                     312-782-0600
                                                     dring@mayerbrown.com
                                                     molsen@mayerbrown.com
                                                     rbulger@mayerbrown.com
                                                     Brian Duffy
                                                     Duffy & Young
                                                     96 Broad Street
                                                     Charleston, SC 29401
                                                     843-720-2044
                                                     bduffy@duffyandyoung.com

                                                     Counsel for 3M Company


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CONSENTED TO BY:

s/ Michael A. London___________
Michael A. London
Douglas and London PC
59 Maiden Lane, 6th Floor
New York, NY 10038
212-566-7500
212-566-7501 (fax)
mlondon@douglasandlondon.com

Paul J. Napoli
Napoli Shkolnik PLLC
360 Lexington Avenue, 11th Floor
New York, NY 10017
212-397-1000
646-843-7603 (fax)
pnapoli@napolilaw.com

Scott Summy
Baron & Budd, P.C.
3102 Oak Lawn Avenue, Suite 1100
Dallas, TX 75219
214-521-3605
ssummy@baronbudd.com

Joseph Rice
Motley Rice LLC
28 Bridgeside Blvd.
Mt. Pleasant, SC 29464
P: 843.216.9159
F: 843.216.9290
jrice@motleyrice.com

Elizabeth Fegan
Fegan Scott LLC
150 S. Wacker Dr., 24th Floor
Chicago, IL 60606
P: (312) 741-1019
F: (312) 264-0100
beth@feganscott.com

Class Counsel




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 10, 2023, a copy of the foregoing Consent

Motion to Amend Exhibits E and F to Preliminarily Approved 3M Settlement Agreement was

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the CM/ECF participants registered to receive service in this MDL.


                                                    /s/_Richard F. Bulger_________
                                                    Richard F. Bulger




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